Case 2:05-cr-20086-SH|\/| Document 20 Filed 05/31/05 Page 1 of 2 PagelD 15

lN THE UN|TED STATES DlSTR|CT COURT
FOR THE WESTERN DlSTRlCT OF TENNESSEE n
WESTERN DlVlS|ON 05 fiat 3 l

 

 

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Plaintif‘f

VS.
CR. NO. 05-20086-D

JUAN L. CHAVEZ

Defendant.

 

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AND §_EMG_

 

This cause came on for Change of Plea hearing on lVlay 19, 2005. At that time,
counsel for the defendant requested a continuance of the June 6, 2005 trial date to allow
counsel additional time to review a proposed plea agreement

The Court granted the request and reset the trial date to July 5, 2005 with a
Chanqe of Plea hearing_c|ate of Wednesdav. June 22, 2005J at 11:30 a.m.. in
Courtroom 3, 9th Floor ofthe Federal Building1 l\/|emphis, TN.

The period from June 17, 2005 through Ju|y 15, 2005 is excludable under 18
U.S.C. § 3161 (h)(B)(B)(iv) because the ends ofjustice served in allowing for additional time
to prepare outweigh the need for a speedy tria|.

lT ls so oRoERED this 3 / day of lvlay, 2005.

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This notice confirms a copy of the document docketed as number 20 in
ease 2:05-CR-20086 Was distributed by faX, mail, or direct printing on
June 1, 2005 to the parties listed.

 

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Honorable Bernice Donald
US DISTRICT COURT

